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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

EUGENIA DECAMPS,            §
Plaintiff                   §
                            §                CIVIL ACTION NO.
vs.                         §
                            §                Jury Trial Demanded
FMS, INC. D/B/A OKLAHOMA    §
FMS, INC., HENRY D. MARKOWE,§
JOHN A. SMITH AND           §
PAUL D. RONGEY,             §
Defendants                  §


                           ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                NATURE OF ACTION

      1.    This is an action for damages brought by an individual plaintiff for

Defendants’ violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.    Plaintiff seeks to recover monetary damages for Defendants’ violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.
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       3.     Service may be made upon Defendants in any other district in which it

may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants transact

business in this district.

                                     PARTIES

       6.     Plaintiff, Eugenia DeCamps (“Plaintiff”), is a natural person residing

in Harris County.

       7.     Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.     Defendant, FMS, Inc. (“FMS”) is an entity who at all relevant times

was engaged, by use of the mails and telephone, in the business of attempting to

collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5) and by Tex. Fin.

Code Ann. § 392.001(6).

       9.     Defendant, Henry D. Markowe (“Markowe”), John A. Smith
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(“Smith”) and Paul D. Rongey (“Rongey”) are individuals who at all relevant times

was engaged, by use of the mails and telephone, in the business of attempting to

collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

      10.     Upon information and belief, Markowe, Smith and Rongey:

            a. were regularly engaged, directly and indirectly in the collection of

              Plaintiff’s debt.

            b. were personally involved in the collection of Plaintiff’s debt.

            c. were materially involved in the collection of Plaintiff’s debt.

            d. materially participated in FMS’s debt collection activities.

            e. were involved in the day-to-day operations of FMS’s debt collection

              business.

            f. exercised control over the affairs of FMS’s debt collection business.

      11.     “Employees can be held personally liable under the FDCPA.”

Robinson v. Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059

(C.D. Cal. 2009); see Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D.

Cal. 2008).

      12.     Furthermore, “most district courts that have addressed the issue have

held that the corporate structure does not insulate shareholders, officers, or

directors from personal liability under the FDCPA.” Schwarm v. Craighead, 552

F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael
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P. Margelefsky, L.L.C., 518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v.

Kennedy, 491 F. Supp. 2d 891, 903 (N.D.Cal.2006); Brumbelow v. Law Offices of

Bennett & Deloney, P.C., 372 F.Supp.2d 615, 618-21 (D. Utah 2005); Albanese v.

Portnoff Law Assocs., Ltd., 301 F. Supp. 2d 389, 400 (E.D. Pa. 2004); Musso v.

Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink v. First Credit Res., 57 F.

Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F. Supp. 2d 639, 640

(N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38 (D. Utah

1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D. Cal.1995);

Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).

      13.   FMS, Inc., Henry D. Markowe, John A. Smith and Paul D. Rongey

(“Defendants”) are “debt collectors” as defined by 15 U.S.C. § 1692a(6) and by

Tex. Fin. Code Ann. § 392.001(2).

                          FACTUAL ALLEGATIONS

      14.   Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendants.

      15.   Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendants, arise from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed
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or due a creditor other than Defendants.

      16.    Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      17.    In connection with collection of an alleged debt from Plaintiff,

Defendants placed a call to Plaintiff’s mother’s residential telephone line, and at

such time, left a message in which Defendants provided its identity to said third

party without such information being expressly requested and further disclosed to

said third party the existence of the debt allegedly owed by Plaintiff without having

received the prior consent of plaintiff or the express permission of a court of

competent jurisdiction to make such contact. (15 U.S.C. §§ 1692b(1), 1692b(2),

1692c(b)).

      18.    Defendants’ actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendants’ above violations of the FDCPA,

Defendants are liable to Plaintiff for Plaintiff’s actual damages, statutory damages,

and costs and attorney’s fees.

                                 COUNT I—FDCPA
                                 DEFENDANT FMS

      19.    Plaintiff repeats and re-alleges each and every allegation contained

above.
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     20.      Defendant’s aforementioned conduct violated the FDCPA.

     WHEREFORE, Plaintiff prays for relief and judgment, as follows:

           a) Adjudging that Defendant violated the FDCPA;

           b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

              in the amount of $1,000.00;

           c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

           d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

              this action;

           e) Awarding Plaintiff any pre-judgment and post-judgment interest as

              may be allowed under the law;

           f) Awarding such other and further relief as the Court may deem just and

              proper.

                        COUNT II—FDCPA
             DEFENDANTS MARKOWE, SMITH AND RONGEY

     21.      Plaintiff repeats and re-alleges each and every allegation contained

above.

     22.      Defendants’ aforementioned conduct violated the FDCPA.

     WHEREFORE, Plaintiff prays for relief and judgment, as follows:

           g) Adjudging that Defendants violated the FDCPA;

           h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

              in the amount of $1,000.00;
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      i) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

      j) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

         this action;

      k) Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law;

      l) Awarding such other and further relief as the Court may deem just and

         proper.

                            COUNT III—TDCPA
                             DEFENDANT FMS

23.      Plaintiff repeats and re-alleges each and every allegation above.

24.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the following ways:

      a. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer, including (Tex Fin Code §

         392.304(a)(19)).

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      a) Adjudging that Defendant violated the TDCPA;

      b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

      c) Awarding Plaintiff actual damages pursuant to the TDCPA;

      d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

         this action;
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            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                 COUNT IV—DTPA
                                 DEFENDANT FMS

      25.      Plaintiff repeats and re-alleges each and every allegation by reference

herein all prior paragraphs above.

      26.      A violation of the Texas Debt Collection Practices Act is a is a

deceptive trade practice under the Texas Deceptive Trade Practices Act, and is

actionable under the Texas Deceptive Trade Practices Act. Tex. Fin. Code. Ann. §

392.404(a)

      27.      Defendant violated Tex. Bus. Com. Code § 17.50(h).

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the Texas Deceptive Trade

               Practices Act, Tex. Bus. Com. Code, Chapter 17, Subchapter E.

            b) Awarding Plaintiff actual damages, pursuant to Tex. Bus. Com. Code

               § 17.50(h);

            c) Awarding Plaintiff three times actual damages, pursuant to Tex. Bus.

               Com. Code § 17.50(h).

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
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               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                   TRIAL BY JURY

      28.      Plaintiff is entitled to and hereby demands a trial by jury.

                                                Respectfully submitted,

                                                By: /s/ Dennis R. Kurz
                                                Dennis R. Kurz
                                                Texas State Bar # 24068183
                                                Southern District Bar No. 1045205
                                                Attorney in Charge for Plaintiff
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                        CERTIFICATE OF SERVICE


I certify that on August 2, 2011, I electronically filed the foregoing document with
the clerk of the U.S. District Court, Southern District of Texas, Houston Division,
using the electronic case filing system of the court.


                                                              /s/ Dennis R. Kurz
                                                              Dennis R. Kurz
